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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                       LAFAYETTE DIVISION


  To:                All Counsel of Record

  Issued By:         Judge Robert R. Summerhays

  Re:                State of Louisiana, et al v. CDC, et al
                     Civil Action No. 6:22-885

  Date:              April 25, 2022


                               MINUTES FROM STATUS CONFERENCE1

             The Court held a status conference via Zoom on April 25, 2022. Participating in the

  conference were Joseph St. John, Drew Ensign and John Sauer for the Plaintiffs; and Jean Lin,

  Erez Reuveni, John Robinson and Jonathan Kossak for Defendants.

             The Court discussed the Motion for Temporary Restraining Order [ECF No. 24] filed by

  Plaintiffs. For the reasons stated on the record, the Court announced its intent to grant the motion.

  The parties will confer regarding the specific terms to be contained in the Temporary Restraining

  Order and attempt to reach agreement.




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      Court time – 45 minutes; Court Reporter – LaRae Bourque
